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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


FUNDAMENTAL SPORTS                              §
MANAGEMENT, LLC, RAHUL PATEL,                   §
GRANT GAINES, NICOLAS LAHOOD,                   §               SA-20-CV-00774-RBF
ROE-BRG INVESTMENTS, LLC,                       §
                                                §
                  Plaintiffs,                   §
                                                §
vs.                                             §
                                                §
MAYAR ZOKAEI,                                   §
                                                §
                  Defendant.                    §

              ORDER SETTING MEDIATION SCHEDULING CONFERENCE

       Before the Court is the above-styled and numbered cause of action, which was referred to

the undersigned for mediation on April 14, 2022 [#62]. In order to schedule the mediation, the

undersigned will hold a scheduling conference. The participants in the conference should be

prepared to discuss the availability of the parties and counsel to attend an in-person mediation

session in May or June. They should also confer on whether a half-day or full-day mediation is

required.

       IT IS THEREFORE ORDERED that this case is set for a scheduling conference at

1:30 p.m. on May 2, 2022. Counsel for all parties are required to appear by Zoom for the

conference. The information to join the conference is as follows:

       Join ZoomGov Meeting: https://txwd-uscourts.zoomgov.com/j/16126729723

       Meeting ID: 161 2672 9723

       If there are questions regarding the Zoom appearance, the parties should contact Valeria

Sandoval, Courtroom Deputy, at txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.




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       Because earlier hearings in other cases may be in progress at the time attorneys log-in for

their scheduled hearing, attorneys may be required to wait in the Zoom “waiting room” until the

Courtroom Deputy addresses them. Parties should review the July 15, 2020 Standing Order

Regarding Telephone or Video Teleconference Hearings, which is available upon request from

the Courtroom Deputy and on the Court’s website.

       SIGNED this 20th day of April, 2022.




                                            ELIZABETH S. ("BETSY") CHESTNEY
                                            UNITED STATES MAGISTRATE JUDGE




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